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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

KYLE SNAMISKA,                             §
                                           §
             Plaintiff,                    §
                                           §
VS.                                        § CIVIL ACTION NO. 3:21-CV-264
                                           §
                                           §
DAVINDER SEKHON,                           §
POWERSYSTEMS GROUP, LLC f/k/a              §
ENGINEERED SOLUTIONS GROUP,                §
LLC,                                       §
INNOVATIVE MECHANICAL                      §
SOLUTIONS, LLC, a/k/a iMech and            §
H-D ADVANCED MANUFACTURING                 §
COMPANY                                    §
                                           §
             Defendants.                   § Jury Trial Requested



                             ORIGINAL COMPLAINT


       COMES NOW, Plaintiff, KYLE SNAMISKA (hereinafter “Plaintiff”), and

files this, his Original Complaint against the below-named Defendants and in

furtherance thereof, would respectfully show unto this Court as follows:

                                           I.

                                      PARTIES

1.     Plaintiff is an adult resident citizen of the State of Texas residing in Brazoria

       County, Texas, working in Harris County, Texas where the underlying
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      causes of action arose.

2.    Defendant, DAVINDER SEKHON, is an individual who may be served at

      his place of business at his place of business, 2418 Greens Road, Houston,

      Texas    77032.    He is the President of ENGINEERED SOLUTIONS

      GROUP, LLC, (ESG as defined below), a wholly owned and/or operated

      subsidiary of H-D ADVANCED MANUFACTURING COMPANY.

3.    Defendant, POWERSYSTEMS GROUP, LLC f/k/a ENGINEERED

      SOLUTIONS GROUP, LLC (hereinafter, “ESG”) is a Texas Limited

      Liability Company and may be served with process through its registered

      agent for service, Roberto Rosario Ferreira, 2119 Holt Road, Arlington,

      Texas 76006. ESG is a wholly owned and/or operated subsidiary of H-D

      ADVANCED MANUFACTURING COMPANY.

4.    Defendant, INNOVATIVE MECHANICAL SOLUTIONS, LLC, a/k/a

      iMech (hereinafter “iMech”) is a Delaware Limited Liability Company

      corporation doing business in Harris County, Texas and may be served with

      process through its registered agent for service, CT Corporation System,

      1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136. iMech is a wholly

      owned and/or operated subsidiary of ESG.
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5.    Defendant,     H-D    ADVANCED           MANUFACTURING               COMPANY,

      (hereinafter, “H-D AMC”) is a Delaware Company doing business in Harris

      County, Texas and may be served with process through its Chief Executive

      Officer, Haluk “Luke” Durudogan at his place of business, 2418 Greens

      Road, Houston, Texas 77032.

6.    For the purposes of 38 U.S.C.§ 4303(4), Defendants are private employers.

                                         II.

                         JURISDICTION AND VENUE

7.    Subject matter jurisdiction is conferred on this court by 38 U.S.C.

      §4323(b)(3), which provides the district courts of the United States have

      jurisdiction over a Uniformed Services Employment and Reemployment

      Rights Act (“USERRA”) action brought against a private employer by the

      serviceperson. This Court also has subject matter jurisdiction over this

      action under 28 U.S.C. § 1331, because this action arises under laws of the

      United States, and under 28 U.S.C. § 1343(a)(4), because Plaintiff seeks to

      secure relief under an Act of Congress that protects civil rights.

8.    Venue is proper in this district under 38 U.S.C. §4323(c)(2) and 28 U.S.C.

      §1391(b)(2).   Defendants are private employers that maintain places of

      business in the district of this United States District Court, and a substantial
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       part of the events giving rise to the claims in this action occurred in this

       district.

                                          III.

                                 GENERAL FACTS

9.     Plaintiff is a reserve member of the United States Army National Guard.

10.    All of Plaintiff’s military records reflect honorable military service.

11.    Plaintiff’s applicable military service periods do not exceed 5 years.

12.    Plaintiff began working for iMech on June 24, 2019, in Houston, Texas.

       Plaintiff was hired as the Controller for iMech.

13.    iMech, in turn, is a wholly owned and/or operated subsidiary of ESG.

       ESG’s President is DAVINDER SEKHON.

14.    ESG is a wholly owned and/or operated subsidiary of H-D AMC.

       DAVINDER SEKHON is the ESG Segment Leader for H-D AMC and lends

       his management support to several H-D AMC subsidiaries.

15.    The management of iMech – and therefore of the Plaintiff is that of H-D

       AMC, ESG, iMech and DAVINDER SEKHON.                     Paychecks and other

       human resources functions come through the Sewickley, Pennsylvania

       offices of H-D AMC which has integrated pay and human resources and

       control functions for all of the subsidiaries of H-D AMC, including ESG and
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 iMech, making them either joint employers or an integrated enterprise as

 those terms are known in law.       For example, at the beginning of his

 employment, the Plaintiff was asked to sign a confidentiality agreement with

 H-D AMC. When he was fired, he was offered a severance agreement from

 iMech, by iMech’s VP of Human Resources, Chris Orsak. Chris Orsak was

 at the same time the Human Resources Director Vice President for H-D

 AMC. Orsak claims on LinkedIn this interrelationship of HR functions into

 one entity - H-D AMC - instead of the various subsidiaries with their own

 HR functions. His duties are there listed by him as: “Strategic Human

 Resources for manufacturing Oil and Gas, Aerospace and Defense HR

 Operations, benefits, compensation, short-term incentives and recognition

 programs…Enterprise-wide performance management program…Forward

 thinking policies and benefits to address a changing workforce in many

 parts of the country…Re-brand the company as H-D, rather than individual

 acquisitions with their own brand.”     All the Defendant entities operated

 together as one, with one centralized HR functionality, and with

 DAVINDER SEKHON in control and management of all, with the power to

 hire and fire personnel from each Defendant entity at his own discretion.
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16.    Defendants were at all relevant times on notice that Plaintiff was a member

       of the Army National Guard.

17.    Plaintiff was transparent with Defendants about his commitments with the

       Army National Guard.

18.    On April 16, 2020, immediately upon being notified of his Title 32 federal

       orders of activation to in-person military service due to military

       mobilization, Plaintiff gave Defendants notice of his military service

       obligation beginning April 18, 2020, for a minimum of 31 days with an

       expectation of an extension.

19.    Defendants immediately made Plaintiff uncomfortable regarding his military

       service by explaining that his job needed his continued work. Plaintiff

       agreed to continue to help remotely while on duty when he was on breaks

       during the day and at night.

20.    Plaintiff would try to work at breaks during his military service during the

       day and at night. Plaintiff was in uniform at all video meetings with the

       Defendants.

21.    On May 5, 2020, Plaintiff was travelling between locations with another

       deployed service member. A co-worker of Plaintiff, who was working in

       Defendants’ Houston office, called Plaintiff.       Because Plaintiff was
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       travelling in a military capacity, the call was required to be hands-free and

       his fellow servicemember overheard the conversation. In that conversation,

       the co-worker informed Plaintiff that the co-worker had been in the office

       and overheard the President of the company, DAVINDER SEKHON, on a

       conference call with two people from the corporate office. The discussion

       was about dismissing Plaintiff because of him being placed on active duty.

22.    In June of 2020, Plaintiff’s orders were extended to the end of July 2020, but

       furloughs went into place for officer personnel. Plaintiff used his one-week

       furlough per month from July of 2020 through September of 2020 to

       perform duties for Defendants.

23.    Plaintiff’s orders were extended again. Plaintiff informed the president of

       the company DAVINDER SEKHON, the same person who was overheard

       expressing a desire to terminate Plaintiff’s employment due to his being

       called to active duty, that his orders were extended through December.

24.    In November of 2020, Plaintiff tested positive for COVID 19, but continued

       to assist with Defendants through his recovery and while on military duty.

25.    In mid-December Plaintiff was cleared of COVID 19 and used a furlough to

       go into Defendants’ office to assist with the physical inventory count for the

       year.
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26.    Plaintiff’s service obligations were extended multiple times through

       December 24, 2020. Plaintiff kept Defendants aware of possible extensions

       to his service.

27.    On January 17, 2021, Plaintiff was reactivated through February 14, 2021.

28.    On March 3, 2021, Plaintiff was given a performance review by Defendants’

       President, DAVINDER SEKHON, who had been overheard expressing a

       desire to terminate Plaintiff’s employment due to his being called to active

       duty.    In the verbal portion of the review, Defendants’ President,

       DAVINDER SEKHON, expressed his displeasure with Plaintiff’s military

       activation, that Plaintiff had been gone as long as he had been in service to

       the United States, and complained that Plaintiff didn’t do enough for the

       company in 2020 because he was serving in the United States military.

29.    Plaintiff was called up for a longer training weekend which meant absence

       from work for two days.       Because of his prior conversation with the

       President, DAVINDER SEKHON, regarding his unhappiness with

       Plaintiff’s military service, Plaintiff decided to take two vacation days to

       cover his service rather than revealing to the President, DAVINDER

       SEKHON, that he had more military service, so as to avoid retaliation.

30.    On March 26, 2021, Plaintiff’s employment was terminated by Defendants.
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       The reason given by the president of the company, DAVINDER SEKHON,

       was that ‘it was not working out’.

31.    The employment relationship between Plaintiff and Defendants was

       irreparably damaged through no fault of Plaintiff.

32.    At all relevant times hereto, Defendants had a duty to act in compliance of

       the law of USERRA and ensure that its agents follow the Act.

33.    As a result of Defendants’ unlawful conduct in violation of USERRA,

       Plaintiff has suffered a loss of earnings and other benefits of employment in

       an amount to be proved at trial.

34.    To the extent Defendants allege application of any agreement that

       constitutes any limitation on Plaintiff’s rights under USERRA, it is illegal,

       null and void, inapplicable and of no force or effect pursuant to 38 U.S.C.

       §4302.
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                                        IV.

                               CAUSES OF ACTION

35.    Defendants violated Plaintiff’s rights as guaranteed by the USERRA 38

       U.S.C. §§ 4301 to 4335, including but not limited to: 38 U.S.C. § 4302(b),

       unlawful prerequisites; 38 U.S.C. § 4311, discrimination and retaliation in

       employment; § 4316 and C.F.R. § 1002.247, rights and benefits of persons

       absent from employment for service in the armed forces; and 38 U.S.C. §

       4323(d), 20 C.F.R. § 1002.312(c), willful violations of his USERRA rights.

                                         A.

                        Discrimination 38 U.S.C. §4311(a)

36.    Plaintiff adopts by reference and realleges each and every allegation of all

       paragraphs of all counts of this Complaint the same as though specifically

       set out herein again.

37.    Defendants’ actions caused the violation of Plaintiff’s USERRA rights such

       that Plaintiff’s obligation to perform service in the uniformed service was a

       motivating factor in decisions by Defendants which adversely affected

       Plaintiff’s employment.

38.    Defendants unlawfully discriminated against Plaintiff, among other ways, by

       denying Plaintiff employment and benefits of employment on the basis of
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       his membership, service, or obligation to perform service in the uniformed

       service, a right provided by USERRA.

                                           B.

                  Discrimination/Retaliation 38 U.S.C. § 4311(c)

39.    Plaintiff adopts by reference and realleges each and every allegation of all

       paragraphs of all counts of this Complaint the same as though specifically

       set out herein again.

40.    Defendants’ actions caused the violation of Plaintiff’s USERRA rights such

       that Plaintiff’s exercising a right provided by USERRA, was a motivating

       factor in the harassment and retaliation he faced for completing his military

       obligations.   This included, among other things, complaints about the

       inconvenience to the employer of Plaintiff fulfilling his duties even though

       no undue hardship was imposed upon the employer and openly expressing

       an intent to terminate Plaintiff’s employment due to his service obligations.

30.    Defendants unlawfully retaliated against Plaintiff, among other ways, by

       creating a toxic environment violating his time between service and return to

       work, attempting to blame Plaintiff for issues that preceded his employment

       in order to justify their unlawful actions, and discharging Plaintiff.
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                                         C.

                        Willful Violations 38 U.S.C. § 4323

41.    Plaintiff adopts by reference and realleges each and every allegation of all

       paragraphs of all counts of this Complaint the same as though specifically

       set out herein again.

42.    Defendants’ conduct was willful as defined by 38 U.S.C. § 4323(d), 20

       C.F.R. § 1002.312(c), because Plaintiff gave Defendants multiple notices of

       USERRA, and his rights and Defendants showed reckless disregard for this

       matter and USERRA requirements.

                                         V.

                               REQUEST FOR RELIEF

43.    Compensation for all injury and damages suffered by Plaintiff including, but

       not limited to, both economic and non-economic damages, in the amount to

       be proven at trial including back pay, front pay, pre and post judgment

       interest, lost benefits of employment, negative tax consequences of any

       award, liquidated damages, exemplary damages and punitive damages as

       provided by law.

44.    Plaintiff’s reasonable that attorneys’ fees, costs, and expenses (including but

       not limited to expert witness fees) be awarded pursuant to 38 U.S.C. § 4323,
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       and as otherwise provided by law.

45.    For such other and further relief as this Court deems just and equitable,

       including injunctive relief to enjoin future violations of the USERRA under

       38 U.S.C. § 4323.

                                           VI.

                            JURY TRIAL REQUESTED

46.    Plaintiff requests a jury in this case.

                                                 Respectfully submitted,

                                                 /s/ Charles H. Peckham
                                                 _________________________
                                                 Charles H. Peckham
                                                 TBN: 15704900
                                                 FBN: 15770
                                                 cpeckham@pmlaw-us.com

                                                 Mary A. Martin
                                                 TBN: 00797280
                                                 FBN: 12272
                                                 mmartin@pmlaw-us.com

                                                 PECKHAM MARTIN, PLLC
                                                 Two Bering Park
                                                 800 Bering Drive, Suite 220
                                                 Houston, Texas 77057
                                                 (713) 574-9044
                                                 (713) 493-2255 – facsimile

                                                 COUNSEL FOR PLAINTIFF
